
34 So. 3d 782 (2010)
Richard WIGHARD, Appellant,
v.
STATE of Florida, Appellee.
No. 5D09-4560.
District Court of Appeal of Florida, Fifth District.
May 14, 2010.
Richard J. Wighard, Monticello, pro se.
Bill McCollum, Attorney General, Tallahassee, and L. Charlene Matthews, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
AFFIRMED. See Wright v. State, 911 So. 2d 81, 83 (Fla.2005) (holding that imposition of an upward departure sentence without written reasons is not an issue cognizable in a rule 3.800(a) proceeding); Jackson v. State, 29 So. 3d 1152 (Fla. 2d DCA 2010) (same); Wood v. State, 830 So. 2d 902 (Fla. 1st DCA 2002) (same).
GRIFFIN, LAWSON and COHEN, JJ., concur.
